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                 BEFORE THE UNITED STATES JUDICIAL PANEL ON
                         MULTIDISTRICT LITIGATION




 In re: MultiPlan Health Insurance Provider         MDL No. 3121
 Litigation




                                      PROOF OF SERVICE


       I hereby certify that a copy of the foregoing Proof of Service was served by Email
on July 24, 2024, to the following:


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